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JOHN DOE | and JOHN DOE 2

SUPERIOR COURT OF THE STATE OF CALIFORNIA

FOR THE COUNTY OF LOS ANGELES

JOHN DOE 1, an individual; and JOHN DOE
2, an individual,

Plaintiffs,
¥.

UNITED AIRLINES, INC., an Illinois
Corporation; ROE I, an individual; ROE 2, an
individual; ROE 3, an individual; and ROES 4
through 50, inclusive,

Defendants,

 

 

 

 

Case No.: 20STCV18888

FIRST AMENDED COMPLAINT FOR
DAMAGES FOR:

1. VIOLATION OF UNRUH ACT
(CIVIL CODE § 51)

2. SEXUAL ASSAULT;

3. SEXUAL BATTERY (CIVIL CODE §

1708.5);

BATTERY;

INTENTIONAL INFLICTION OF

EMOTIONAL DISTRESS;

6. NEGLIGENT INFLICTION OF
EMOTIONAL DISTRESS;

7, NEGLIGENCE; AND

8. NEGLIGENT HIRING, TRAINING,
SUPERVISION, AND RETENTION

wee

DEMAND FOR JURY TRIAL

 

FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 
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COMES NOW, Plaintiffs JOHN DOE | and JOHN DOE 2, who complain and allege as

follows:
PARTIES
l. Plaintiff JOHN DOE | (“JOHN DOE 1”) files this Complaint for Damages under
a fictitious name to protect his identity pursuant to Government Code section 6254 and Penal Code
section 293. JOHN DOE | is an African American male adult and professional athlete in the
National Football League (NFL) residing in the County of Essex, State of New Jersey.' JOHN
DOE | was sexually harassed, assaulted, abused, and violated, and verbally and physically

harassed by a female passenger on a Defendant UNITED AIRLINES, INC. flight from Los

Ls ° ~~ >), ee ~ ©? a eo)

Angeles International Airport (LAX) to Newark Liberty International Airport (EWR) which began
11 |] on or about February 10, 2020.

iZ es Plaintiff JOHN DOE 2 (“JOHN DOE 2”) files this Complaint for Damages under
13 |} a fictitious name to protect his identity pursuant to Government Code section 6254 and Penal Code
14 || section 293. JOHN DOE 2 is an African American male adult residing in County of Phitadelphia,
(5 || State of Pennsylvania, JOHN DOE 2 was sexually harassed, assaulted, abused, and violated by a
16 || passenger on a Defendant UNITED AIRLINES, INC. flight from Los Angeles International
17 || Airport (LAX) to Newark Liberty International Airport (EWR) which began on or about February
18 }} 10, 2020.

19 3. JOHN DOE | and JOHN DOE 2 are collectively referred to herein as
20 1] “PLAINTIFFS.”

21 4. Defendant UNITED AIRLINES, INC. (“UNITED”) is a major U.S. airline
22 incorporated in Delaware and headquartered in Chicago, Illinois, and does business in the County
23 || of Los Angeles. UNITED operates a large domestic and international route network, and has
24 || several “hubs” across the U.S., including Los Angeles (LAX), the starting point of the flight at the
25 || heart of this matter.

26 5. PLAINTIFFS are ignorant of the true names and capacities of their assailant, who

 

' PLAINTIFFS’ original Complaint identified the incorrect city and county of JOHN DOE I's
residence. This First Amended Complaint, in part, corrects this clerical error.
| '
FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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1 |] was a female passenger on their UNITED flight, and the UNITED flight attendants. UNITED
2 || failed ty cuuperate and assist PLAINTIFFS, through their counsel, with evidence concenting the
3 || assault, including, but not limited to, refusing to provide PLAINTIFFS with the identities of their
assailant, the flight attendants, and potential witnesses. Therefore, PLAINTIFFS sue their assailant

and the UNITED flight attendants by the following fictious names (ROES | to 3) pursuant to

4
5

6 || California Code of Civil Procedure section 474. PLAINTIFFS will amend this Complaint to state
7 || the true names and capacities of these fictitiously named Defendants when those names are
8 || ascertained. PLAINTIFFS are informed and believe, and thereon allege, that each of the
9 || fictitiously named Defendant (ROES | through 3) is legally responsible in some manner for the
10 |} events and damages alleged in this Complaint under the respective causes of action alleged herein.
V 6. Defendant ROE } (referred to herein as “ROE 1” or “ASSAILANT”) sexually
12 || harassed, assaulted, abused, and violated, and verbally and physically harassed JOHN DOE | and
13 |} JOHN DOE 2 during a UNITED flight departing LAX to EWR on or about February 10, 2020.
14 |} ASSAILANT is a middle-aged Caucasian female.

15 Z. Defendant ROE 2 (referred to herein as “ROE 2”) is a male flight attendant
16 {| employed by UNITED and was a flight attendant on board the UNITED flight departing LAX to
17 || EWR on or about February 10,2020 At all relevant times herein mentioned, ROE, 2 was a flight
18 |} attendant, agent, and/or employee of UNITED and was acting within the course and scope uf such
19 |} agency and/or employment with UNITED.

20 8. Defendant ROE 3 (referred to herein as “ROE 3”) is a female flight attendant
2t |} employed by UNITED and was a flight attendant on board the UNITED flight departing LAX to
22 |; EWR on or about February 10, 2020. At all relevant times herein mentioned, ROE 3 was a flight
23 |] altendant, agent, and/or employee of UNITED and was acting within the course and scope of such
24 |} agency and/or employment with UNITED.

25 9. ROE 2 and ROE 3 are collectively referred to herein as “FLIGHT
26 |} ATTENDANTS.”

27 10. PLAINTIFFS do not know the true names and capacities of the Defendants sued

28 }| herein as ROES 4 through 50, inclusive, and therefore sues those Defendants by fictitious names

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FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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1 |} pursuant to California Code of Civil Procedure section 474. PLAINTIFFS will amend this
2 || Complaint to state the true names and capacities of the fictitiously named Defendants when those
3 || names are ascertained. PLAINTIFFS are informed and believe, and thereon allege, that each of the
4 || fictitiously named Defendant is legally responsible in some manner for the events and damages
5 || alleged in this Complaint under the causes of action alleged herein.

6 I. PLAINTIFFS are informed and believe, and thereon allege, that each of the named

7 || and fictitious Defendants identified in this Complaint was the agent, servant, member, partner,

8 || employee, associate, co-conspirator, co-joint venture, alter-ego of one or more of the other
9 |} defendants and/or was acting in the course and scope of such agency, partnership, joint venture,

0 || association and/or employment when the acts giving rise to the causes of action occurred.

HH 12. UNITED, ASSAILANT, FLIGHT ATTENDANTS, and ROES 4 through 50,

12 || inclusive, are collectively referred to herein as “DEFENDANTS.”

13 NATURE OF THE ACTION

14 13. This is an action against DEFENDANTS arising from the sexual harassment and

15 || assault of PLAINTIFFS and for the failure to have and/or follow policies and procedures to

6 || prevent, report, and respond to sexual harassment and assault that occurred on a UNITED flight.

17 14. The prevalence of passenger-on-passenger in-flight sexual assault is a well-known,

18 || and growing, problem. In fact, in 2018, the FBI issued a warning — to airlines and the public at

19 |] large — that the number of sexual assaults reported during commercial airline flights has been

20 || increasing “at an alarming rate.”?

21 15. UNITED, like all airlines, has an affirmative duty to aid and protect its passengers.

22 || This duty includes protecting passengers from sexual assaults by fellow passengers and

23 || responding properly and timely to in-flight sexual assaults that do occur.

24 16. UNITED violated this duty by failing to implement and enforce appropriate

25 || policies and procedures to prevent, or properly respond to, sexual assaults that occur on its flights;

 

26
27 |) 2 Javier De Diego et al., FB/: Sexual Assaults on Flights Increasing ‘At An Alarming Rate’, CNN Potilics
28 (June 20, 2018, 9:19 PM ET),  https://Awww.cnn.com/2018/06/20/politics/fbi-airplane-sexual-

 

assault/index. htm}

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FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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1 |] failing to report in-flight sexual assaults to the proper authorities, or to any authorities; and failing

2 || to cooperate with authorities in the reporting and investigation process into in-flight sexual
3 |} assaults.

4 17. Asa result of these violations by UNITED and its FLIGHT ATTENDANTS,
5 || PLAINTIFFS were sexually harassed and assaulted by their fellow passenger, ASSAILANT,
6 || while they were on their UNITED flight.

7 18. UNITED’s failure to implement and enforce polices to prevent and timely and
8 || properly respond to in-flight sexual assault led UNITED’s FLIGHTS ATTENDANTS failure to

9 || address the assaults and harassments detailed below; fail to report the assaults and harassments to
10 || the any authorities; and fail to cooperate with authorities investigating those assaults and
1] harassments.

12 19. UNITED’s, including its FLIGHT ATTENDANTS and other agents and/or
13 || employees, actions and inactions were — and are — part of a pattern of behavior and a common
14 || course of conduct towards all its passengers, including PLAINTIFFS.

15 20. PLAINTIFFS seek appropriate relief, including, but not limited to, compensatory
16 || damages and punitive damages, as they were unnecessarily put at risk and harmed by

17 DEFENDANTS and UNITED’s common course of misconduct.

 

i8 FACTUAL ALLEGATIONS

19 A. THE PREVALENCE OF _ IN-FLIGHT PASSENGER-ON-PASSENGER
20 SEXUAL ASSAULT IS WELL-KNOWN

2) 21. In June 2018, the FBI issued a statement that the number of sexual assaults

22 || reported during commercial airline flights is increasing “at an alarming rate,” and the number of
23 || actual cases could be much higher than those reported. It was further reported that the bulk of
24 || the incidents happen on red-eye overnights, flights of three hours or more where cabin lights might

25 jj be darkened, and/or instances where alcohol is being consumed.

 

26 22. Crimes aboard aircraft fall within the FBI’s jurisdiction, and the agency said its
27
a Wi 3 id.

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FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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1 |] investigations into in-flight sexual assaults increased by 66% from fiscal year 2044 to 2017.4

23. The International Air Transport Association reported 8!2 incidents during 2018

bo

that were categorized as inappropriate behavior such as touching, sexual harassment, physical
aggression, or indecent acts.°

24. In a 2017 Association of Flight Attendants survey, 20% of flight attendants
reported receiving a passenger repent of in-flight sexual assault.®

2), Airline passenger organization FlyersRights.org released 20 detailed passenger
complaints of in-flight sexual assaults, made to the U.S. Department of Transportation, and

obtained via FOIA requests. These reports also provide a sense of the scope and frequency of

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inflight sexual assault.’

UW 26. Various news media has been reporting on the prevalence of in-flight sexual
12 || assaults for years.®

13 27. The FBI itself noted the similarity of these crimes: “...agents describe elements of
14 || these crimes as being strikingly similar. The attacks generally occur on Jong-haul flights when the

15 || cabin is dark. The victims are usually in middle or window seats, sleeping, and covered with a

 

     

16
17 * Sexual Assault Aboard Aircraft: Raising Awareness About a Serious Federal Crime, FB\ News (Apr.
26, 2018), https:/Avww. fbi. pov/news/stories/raisine-awareness-about-sexual-assault-aboard-aircraft-
18 042618
* International Air Transport Association, Safety Report 2018, p. 111-112,
19 || Htps:/Aibraryonline.erau.edu/online-full-text/iata-safety-reports/IA TA -Safety-Report-2018.pdf.

     

‘ #MeToo in the Air, Association Of Flight Attendants-CWA, https://www.afacwa.ore/metoo#al.

20 7 hups://flyersrights.org/wp-content/uploads/2018/1 1/DOT-Sexual-Assault-Records.pdf.

* See, e.g., Andrew Appelbaum, Recent In-Flight Sexual Abuse Complaints to Feds Released by Airline
21 Passenger Group...Nothing Done?, Flyersrights.Org (Nov. 29, 2018),
https://flyersrights.org/pressrelease/recent-in-flight-sexual-abuse-complaints-to-feds-released-b
22 || passenger-group/; Nora Caplan-Bricker, Flight Risk, Slate (Aug. 31, 2016), htps://slate.com/human-
interest/2016/08/flightrisk.htm}; Delta Passenger Sues Airline, Claims Crew Didn't Detain Passenger
23 || Who Sexually Assaulted Her on Flight, FOX News (Sepi. 28, 2018),

hitps://Awww. foxnews.com/travel/delta-passenger-sues-airlineclaims-crew-didni-detain-passenger-who-

24 sexually-assaulted-her-on-flight; Allison Dvaladze, Airline Industry Treats Sexual Assaults in the Skies

Like an Inconvenience, Not a Crime, USA Today (Apr. 1, 2019, 6:00 AM ET),

25 https://Awww.usatoday.com/story/opinion/voices/2019/04/0 1/sexual-assaull-airlinefli¢ht-elaine-chao-

trump-boeing-column/3312204002/; Christopher Mele, Sexual Assault on Flights: Experts Recommend

26 1) Ways to Stay Safe and Combat It, N.Y. Times (Mar. 23, 2019),

27 hups://Awww.nytimes.com/2019/03/23/travel/airline-flights-sexual-assaulL html; David Oliver, Passenger
Indicted for Alleged Mid-Flight Sexual Assault of 19-Year-Old Woman, USA Today (May 21, 2019, 9:54

AM ET), hutps://www.usatoday.com/story/travel/fights/20 19/05/21 /united-airlines-passenyeralleges-

sexual-assault/375 1023002/.

          

 

 

5
FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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| || blanket or jacket. They report waking up to their seatmate’s hands inside their clothing or
2 || underwear.”?

3 28. The FBI also noted what should happen in response to a passenger reporting an
4 || tncident to a member of the flight crew: “Flight aitendants and captains represent authority on the
5 || plane.,.they can alert law enforcement, and they can sometimes deal with the problem in the air.
6 || The flight crew can also put the offender on notice, which might prevent further problems. If
7 || alerted in advance [by the pilot radioing ahead to the airport], FB! agents can be on hand when
8 || the plane lands to conduct interviews and take subjects into custody. FBI victim specialists can
9 || respond as well, because victims of federal crimes are entitled by law to a variety of services.” '®
0 29. The media has reported about airlines in general failing to adequately respond to
11 || in-flight sexual assault, reporting that frequently: victims might be forced to stay in their assigned
12 || seat next to their assailant for the duration of the flight; no reprimand or action is taken against
13 || the assailant; law enforcement is not notified from the air so they are not there when the plane
14 |} lands; the assailant is allowed to de-plane without being questioned, detained, or even identified;
15 || the victim has to wait at the gate — sometimes for hours — for the gate agents to call TSA, who
16 || usually calls the local potice (not the FBI); the local police sometimes won't even take a report
17 || because in-flight assaults are not within their jurisdiction; the airline simply tells the victim to call
[8 |{ customer service with her “complaint;” no identities (of assailant or potential witnesses) are
19 || shared with the victim or recorded; no evidence is preserved; and the victim is left to contact the
20 || FBI herself, with no evidence or identities to support her report of the crime she has suffered.!!
21 30. Eighty-six percent of flight attendants surveyed said they were uncertain of, or had

22 |} no knowledge of, any policies, procedures, or even guidance from their airlines for handling

 

        

23

24 ° FBI, Sexual Assault Aboard Aircraft: Raising Awareness About a Serious Federal Crime, FBI NEWS
(Apr. 26, 2018), https://www.fbi.gov/news/stories/raising-awareness-about-sexual-assault-aboard-

25 aircraft-042618.

Id,
26 || \" What Happens Afier You're Sexually Assaulted on a Plane? Not Much, SPLINTER (Oct. 31, 2016,

1:29 PM), https://splinternews.com/what-happens-afier-voure-sexually-assaulted-on-a-plane-
1793863317. The 2017 Association of Flight Attendants survey found that law enforcement (not
necessarily the FBI) was contacted or met the plane less than half the time. #MeToo in the Air,
Association Of Flight Attendants-C WA, https://Awww.afacwa.ore/metoo#al.

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FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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i || sexual assault reports. !?

2 31. UNITED, and its FLIGHT ATTENDANTS, knew — or should have known — of

3 j| this growing prevalence of in-flight sexual assaults because it is widely available and known

a

public knowledge.
B. UNITED HAS A DUTY TO PROTECT AND AID ITS PASSENGERS

32. As acommon carrier, UNITED, including its employees, has a special heightened
duty under common law to provide due care to ensure, protect, and aid in the protection of

passengers’ safety.

33. Passengers entrust and have entrusted UNITED with this duty of care to ensure,

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protect, and aid in the protection of their safety while they are passengers on a UNITED flight.
I 34, UNITED’s special duty to provide due care to ensure, protect, and aid in the
12 || protection of passengers’ safety includes a duty to take reasonable steps to prevent and deter
13 || inflight sexual assault on its flights, and to properly respond to such assaults that do occur,
14 |} particularly in light of UNITED’s knowledge of the growing prevalence of in-flight sexual assault.
15 35. While passengers are on a plane, they have little control over their surroundings:
16 || they are in cramped quarters; they cannot leave the plane until it lands; and they cannot engage in
17 |] activities such as making phone calls or easily communicating with friends, family, or police
18 || authorities in the case of an emergency.

19 36. | UNITED has control over passengers’ surroundings and, indeed, their activities
20 || during the time they are onboard the plane.

2) 37. | UNITED can — and does — exercise control over passengers who exhibit lewd,
22 || sexual, harassing, disruptive, violent, disorderly, or abusive behavior, reserving the right in its
23 || contract of carriage to refuse transportation to individuals who are intoxicated or under the
24 || influence of drugs, individuals who assault UNITED employees or passengers, and/or disobey
3

25 {| flight crew instructions. !

26

 

27 |} 2 #MeToo in the Air, Association Of Flight Attendants-CWA, htps:/Avww.afacwa.ore/metoo#al,

'3 United Airlines, Inc. Contract of Carriage, Rule 21(H),

28 : :
hitps://www united .com/ual/en/us/fly/contract-of-carriave him!

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FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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l 38. = UNITED can — and has a duty to — implement and enforce policies and procedures
2 || to prevent and deter in-flight sexual assaults and to properly respond to those that do occur, just

3 || as it does with other forms of passenger violence and disruption.

 

4 39. These duties extend to UNITED'’s employees, including FLIGHT
5 || ATTENDANTS.

6 C. ASSAILANT’S IN-FLIGHT HARASSMENT AND SEXUAL ASSAULT ON
7 PLAINTIFFS

8 40. PLAINTIFFS and ASSAILANT were passengers on UNITED “red-eye” flight
9 |} number 415 (UA415) from Los Angeles (LAX) to Newark (EWR) (referred to herein as the
10 || “FLIGHT”). The FLIGHT was scheduled to department Los Angeles at 11:15 p.m. and arrive in
11 4) Newark at 7:10 a.m.

12 4}. PLAINTIFFS and ASSAILANT were assigned to the same row on the FLIGHT.
13 42. JOHN DOE | was assigned seat number 39K (middle) in the economy plus exit
14 |] row.

15 43. JOHN DOE 2 upgraded to and was assigned seat number 39J (aisle) in the

16 || economy plus exit row.

17 44, ASSAILANT was assigned seat number 39L (window) in the economy plus exit
18 |} row.
19 45. ASSAILANT boarded the UNITED plane after the majority of the plane had

20 || already taken their seats, including PLAINTIFFS. As ASSAILANT was finding her assigned row,
21 || PLAINTIFFS observed ASSAILANT to be disheveled and unbalanced. JOHN DOE 2 helped
22 || ASSAILANT with stowing her bag(s) in the overhead bin.

23 46. As ASSAILANT took her seat, she began harassing JOHN DOE |, who was
24 || wearing a face mask in light of the news coverage he had heard regarding the prevalence and
25 || transmission of COVID-19, amongst other germs and diseases that might be passed or circulated
26 || onan airplane. ASSAILANT began hitting JOHN DOE 1's arm and elbowing him. ASSAILANT
27 || accosted JOHN DOE | and told him that he was “frightening,” ordered him to move to the front

28 || and use the air in the front of the plane because he was sick, and questioned why JOHN DOE |

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FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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| }| hada mask on. JOHN DOE | respectfully responded that he was not sick and was being proactive,
2 {{ especially in wake of the growing COVID-19 concerns at that time.

3 47. Thereafter, approximately 25 minutes after taking her seat, ASSAILANT was
4 || observed by JOHN DOE | and JOHN DOE 2 taking unknown prescription medication(s). At all
5 || relevant times, ASSAILANT held her prescription bottle in her hand during the FLIGHT.
6 || PLAINTIFFS are informed and believe that, at all relevant times, ASSAILANT was under the
7 || influence of drugs and intoxicated.

8 48. JOHN DOE 2 immediately went to notify ROE 2, who was at a nearby service
9 || station, that ASSAILANT is harassing JOHN DOE lI, cursing, and being belligerent and
10 |) disruptive. ROE 2 told JOHN DOE 2 that he would come to his row to check and see.
11 || Unfortunately, ROE 2 never came to check on PLAINTIFFS and ignored JOHN DOE 2’s
12 || complaints and concerns.

13 49. After JOHN DOE 2 took his seat, ASSAILANT continued to sexually assault and
14 |; abuse JOHN DOE |, make unwanted sexual advances towards JOHN DOE 1, and engage in
15 || verbal and/or physical conduct of a sexual nature towards JOHN DOE |. ASSAILANT groped
16 |} and massaged JOHN DOE I's knees and thighs. Fearful of the perception of being a male victim
17 || and the racial stigma of being a young African American male, JOHN DOE | patiently pleaded
18 || for ASSAILANT to stop and removed her hand. ASSAILANT’s actions were so inappropriate
19 {| that JOHN DOE 2 quickly went to ROE 2 to notify him again of ASSAILANT’s inappropriate
20 || behavior. ROE 2

21 50. Unfortunately, ROE 2 ignored JOHN DOE 2’s second complaints and no actions
22 || were taken by UNITED employees, including the FLIGHT ATTENDANTS.

23 51. Approximately 75 minutes after the scheduled departure, ASSAILANT intensified
24 || her sexual assault and abuse of JOHN DOE | and continued to make unwanted sexual advances
25 || and engage in verbal and/or physical conduct of a sexual nature towards JOHN DOE |.
26 || ASSAILANT starred at JOHN DOE | while grabbing and groping his quads and then stroking
27 || her hand across his lap towards the inside of his leg near his genitals. JOHN DOE | immediately

28 || removed ASSAILANT’s hand and pleaded to ROE 3, who was walking past and overheard JOHN

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FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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| || DOE 1 complaining. ROE 3 witnessed ASSAILANT’s inappropriate conduct and simply issued
a verbal warning to ASSAILANT. No further action was taken at that time by either ROE 2 or
ROE 3.

52. After ASSAILANT turned away towards the window, JOHN DOE | believed he
was finally able to rest. Unfortunately, ASSAILANT put her hand through JOHN DOE 1’s jacket

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and caressed his chest and pecs working her way up to his face. While touching JOHN DOE I's
face, ASSAILANT grabbed JOHN DOE I’s penis and ripped off his face mask. JOHN DOE 1
jumped up from his seat and complained in front of the entire plane that ASSAILANT is “touching

me.” JOHN DOE 1, embarrassed and uncomfortable, rushed to notify ROE 2, who at the time

co Oo f-.& ~

was in the rear of the plane.

li 53, While JOHN DOE | went to go notify ROE 2, ASSAILANT moved over to the
12 || middle seat (JOHN DOE 1’s seat) and sexually assaulted JOHN DOE 2 by grabbing his leg and
13 |} groin area.

14 54. When ROE 2 came over to PLAINTIFFS’ row, he asked, “is this the same lady?”
15 || ASSAILANT admitted that she was drinking and had taken pills. ROE 2 moved ASSAILANT to
16 || another row. PLAINTIFFS are informed and believe that ASSAILANT was moved a second time

17 || for being disruptive yet again and finally moved to a row with no other passengers.

 

 

18 55. | UNITED presented JOHN DOE 1 and JOHN DOE 2 each with $150.00 voucher.
19 D. UNITED BREACHED ITS DUTY TO PLAINTIFFS BY FAILING TO

20 HAVE OR ENFORCE ADEQUATE POLICIES AND PROCEDURES TO
2) PREVENT AND PROPERLY RESPOND TO IN-FLIGHT SEXUAL

22 ASSAULTS

23 56. Upon information and belief, UNITED does not have and/or enforces adequate

24 || policies and procedures to prevent sexual assaults on its flights, and to properly respond to such
25 {| incidents that do happen.

26 57. UNITED’s failure to have and/or enforce adequate policies and procedures for the
27 || prevention of and response to in-flight sexual assaults is a breach of its affirmative duty to protect

28 || and care for its passengers.

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FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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1 E. AS A RESULT OF UNITED’S FAILURE TO HAVE OR ENFORCE

2 ADEQUATE POLICIES AND PROCEDURES, PLAINTIFFS

2 WERE PUT AT RISK AND HARMED

4 58. UNITED’s lack of and/or failure to enforce adequate policies and procedures for

5 || the prevention of and response to in-flight sexual assault put PLAINTIFFS (and other passengers)

6 || at risk of harm, and caused harm to PLAINTIFFS as they were verbally, physically, and sexually

7 || assaulted by ASSAILANT.

8 59. Moreover, UNITED’s lack of and/or failure to enforce adequate policies and

9 |] procedures for the proper response to in-flight sexual assaults, specifically the sexual assaults at
10 || issue in this Complaint, exacerbated and amplified the trauma of the actual assault due to
11 |} institutional betrayal.
12 60. The term “Institutional Betrayal” refers to wrongdoings perpetrated by an
13 || institution upon individuals dependent on that institution, including failure to prevent or respond
{4 |] supportively to wrongdoings by individuals (e.g. sexual assault) committed within the context of
15 |] the institution. "4
16 FIRST CAUSE OF ACTION
17 VIOLATION OF UNRUH ACT (CIVIL CODE § 51)
18 || (Plaintiffs Against Defendants UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50)
19 61. PLAINTIFFS re-allege and incorporate by reference herein each and every
20 || allegation contained herein above as though fully set forth and brought in this cause of action.
21 62. PLAINTIFFS’ civil righis were violated by UNITED, FLIGHT ATTENDANTS,
22 || and ROES 4 through 50. UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50, ignored
23 || PLAINTIFFS’ complaints and failed to ensure, protect, and aid in the protection of PLAINTIFFS’
24 || safety. Specifically, UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50, failed to take
25 || steps to prevent and deter the in-flight sexual assaults and properly respond to such assaults that
26 .
27 | 14 jennifer J. Freyd, /nstitutional Betrayal and Institutional Courage,
28 htips://dynamic.uoregon.edu/jjf/institutionalbetrayal/. See also Carly Pamitzke Smith & Jennifer J.

Freyd, /nstitutional Betrayal, 69 AM. PSYCH. ASSOC. 575 (2014).
i
FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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| || PLAINTIFFS endured, particularly in light of Defendants’ knowledge of the growing prevalence
of in-flight sexual assault. PLAINTIFFS had a right to be free from gender, age, and racial

discrimination, sexual molestation and assault, abuse and harassment under the Unruh Civil Rights

> Ww Wh

Act.

63. UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50, were acting under
the color of their authority and scope of their employment while PLAINTIFFS were passengers
on-board the FLIGHT operated by UNITED.

64. UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50, denied

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PLAINTIFFS full and equal accommodations, advantages, facilities, privileges, or services
10 || because of their gender, age, and race, by allowing ASSAILANT unfettered ability to sexually
11 |] abuse and harass PLAINTIFFS, as a passenger on the FLIGHT, by actively ignoring
12 |] PLAINTIFFS’ complaints and tack of and/or failure to enforce adequate policies and procedures
13 |] for the proper response to ASSAILANT’s sexual assault and harassment. UNITED, FLIGHT
14 |] ATTENDANTS, and ROES 4 through 50, through PLAINTIFFS’ complaints, had actua] notice
15 |] of ASSAILANT’s wrongful conduct and chose to ignore PLAINTIFFS’ pleas for help during the
16 |} FLIGHT.

17 65. UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50’s, lack of and/or
18 }| failure to enforce adequate policies and procedures for the proper response to in-flight sexual
19 || assaults, despite its nrawledoe of myriad reports of in-flight sexual assau]ts, UNITED, FLIGHT
20 || ATTENDANTS, and ROES 4 through 50, granted ASSAILANT unfettered ability to sexually
21 || assault and harass PLAINTIFFS. Thus, UNITED, FLIGHT ATTENDANTS, and ROES 4 through
22 || 50’s, lack of and/or failure to enforce adequate policies and procedures for the proper response to
23 || in-flight sexual assaults denied PLAINTIFFS full and equal accommodations, advantages,
24 |} facilities, privileges, or services during the duration of the FLIGHT, based upon their gender, age,
25 || and race.

26 66. The substantial motiving reason for UNITED, FLIGHT ATTENDANTS, and
27 || ROES 4 through 50’s, lack of and/or failure to enforce adequate policies and procedures for the
28 |} proper response to in-flight sexual assaults was PLAINTIFFS’ gender, age, and race. UNITED,

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FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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l FLIGHT ATTENDANTS, and ROES 4 through 50, unwittingly overlooked, disregarded, ignored,
2 {| and took for granted the fact that sexual assaults and harassment can occur to young African
3 || American males.
4 67. As a direct and proximate result of UNITED, FLIGHT ATTENDANTS, and ROES
5 || 4 through 50°s, acts, omissions, wrongful conduct and breaches of their duties, PLAINTIFFS were
6 || put at unnecessary risk of harm and in many cases suffered and continue to suffer great pain of
7 || mind and body, shock, emotional distress, physical manifestations of emotional distress including
8 || depression, anxiety, humiliation, loss of enjoyment of life, and fear of flying and travel; have
9 || suffered and continue to suffer and were prevented and wilt continue to be prevented from
10 |{ performing daily activities and obtaining the full enjoyment of life; may sustain loss of earnings
11 }} and earning capacity; and may incur expenses for medical and psychological treatment, therapy,
12 || and counseling. PLAINTIFFS have suffered damages, both general and special damages, in an
13 |} amount presently unknown but exceeding the minimum jurisdictional limit of this Court and as
14 {| proven at the time of trial.
15 68. Asadirect, proximate, and legal result of UNITED, FLIGHT ATTENDANTS, and
16 |} ROES 4 through 50°s, violations of Civil Code section 51, they are liable to PLAINTIFFS for each
17 || and every offense for the actual damages, and any amount that may be determined by a jury, or a
18 || court sitting without a jury, up to a maximum of three times the amount of actual damage but in
19 |] no case less than four thousand dollars ($4,000), and any attorney's fees that may be determined
20 || by the court in addition thereto, suffered by PLAINTIFFS as they were denied the rights provided
21 in Civil Code section 51.
22 SECOND CAUSE OF ACTION
23 SEXUAL ASSAULT
24 (Plaintiffs Against Defendant ASSAILANT)
25 69. PLAINTIFFS re-allege and incorporate by reference herein each and every
26 || allegation contained herein above as though fully set forth and brought in this cause of action.
27 70. ASSAILANT, in doing the wrongful acts herein alleged, including intending to
28 || subject PLAINTIFFS to sexual abuse, harassment, and molestation during the FLIGHT as a
13
FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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| |] passenger, intended to cause harmful or offensive conduct with PLAINTIFFS’ person, or intended

2 |} to put PLAINTIFFS in imminent apprehension of such conduct.

3 Ti. In doing the wrongful acts herein alleged, PLAINTIFFS were put in imminent

4 |] apprehension of a harmful or offensive conduct by ASSAILANT and actually believed

5 || ASSAILANT had the ability to make harmful or offensive conduct with PLAINTIFFS’ person.
72. PLAINTIFFS did not consent to ASSAILANT’s intended harmful or offensive

contact with PLAINTIFFS’ person, or intention to put PLAINTIFFS in imminent apprehension of

such conduct.

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¥3. In doing the wrongful acts herein alleged, ASSAILANT violated PLAINTIFFS’
10 || rights, pursuant to Civil Code section 43, of protection from bodily restraint or harm, and from
11 |] personal insult. In doing the wrongful acts herein alleged, ASSAILANT violated her duty,
12 || pursuant to Civil Code section 1708, to abstain from injuring the person of PLAINTIFFS or
13 || infringing upon their rights.

14 74.  Asaresult of the above-described conduct, PLAINTIFFS were put at unnecessary
15 |] risk of harm and in many cases suffered and continue to suffer great pain of mind and body, shock,
16 || emotional distress, physical manifestations of emotional distress including depression, anxiety,
17 |} humiliation, loss of enjoyment of life, and fear of flying and travel; have suffered and continue to
18 || suffer and were prevented and will continue to be prevented from performing daily activities and
19 || obtaining the full enjoyment of life; may sustain loss of earnings and earning capacity; and may
20 || incur expenses for medical and psychological treatment, therapy, and counseling. PLAINTIFFS
21 || have suffered damages, both general and special damages, in an amount presently unknown but
22 || exceeding the minimum jurisdictional limit of this Court and as proven at the time of trial.

23 75. In subjecting PLAINTIFFS to the wrongful acts herein described, ASSAILANT
24 |] acted willfully and maliciously with the intent to harm PLAINTIFFS, and in conscious disregard
25 || of PLAINTIFFS’ rights, so as to constitute malice and oppression under Civil Code section 3294.
26 || PLAINTIFFS are therefore entitled to the recovery of punitive damages against ASSAILANT, in
27 {| an amount to be determined according to proof.

28 || ///

14
FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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| THIRD CAUSE OF ACTION

2 SEXUAL BATTERY (CIVIL CODE § 1708.5)

3 (Plaintiffs Against Defendant ASSAILANT)

4 76. PLAINTIFFS re-allege and incorporate by reference herein each and every
5 || allegation contained herein above as though fully set forth and brought in this cause of action.

6 77. During the FLIGHT, ASSAILANT intentionally, recklessly, and wantonly did acts
7 || which were intended to, and did, result in harmful and offensive contact with intimate parts of

8 || PLAINTIFFS’ person, all while they were passengers on the FLIGHT operated by UNITED.

9 78. ASSAILANT committed the acts set forth herein with the intent to cause a harmful
10 || or offensive contact with an intimate part of PLAINTIFFS’ person and that would offend a
1! || reasonable sense of personal dignity. Further, said acts did cause a harmful or offensive contact

12 || with an intimate part of PLAINTIFFS’ person that would offend a reasonable sense of personal

13 || dignity.
14 79. PLAINTIFFS did not give consent to such acts.
i) 80. Asadirect, legal, and proximate result of the acts of ASSAILANT, PLAINTIFFS

16 |] sustained serious and permanent injuries to their person, in an amount to be shown according to
17 || proof and within the jurisdiction of the Court.

18 81. In subjecting PLAINTIFFS to the wrongful acts herein described, ASSAILANT
19 || acted willfully and maliciously with the intent to harm PLAINTIFFS, and in conscious disregard
20 || of PLAINTIFFS’ rights, so as to constitute malice and oppression under Civil Code section 3294.
21 PLAINTIFFS are therefore entitled to the recovery of punitive damages against ASSAILANT, in

22 |] an amount to be determined according to proof.

 

23 FOURTH CAUSE OF ACTION

24 BATTERY

25 (Plaintiffs Against Defendant ASSAILANT)

26 82. PLAINTIFFS re-allege and incorporate by reference herein each and every

27 || allegation contained herein above as though fully set forth and brought in this cause of action.

28 83. ASSAILANT inappropriately touched PLAINTIFFS with intent to harm.

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FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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] 84. PLAINTIFFS did not consent to the inappropriate touching.

2 85. PLAINTIFFS were harmed by ASSAILANT’s inappropriate and wrongful
3 |] conduct.
4 86. Further, said acts by ASSAILANT did cause a harmful or offensive contact with

5 || an intimate part of PLAINTIFFS’ person that would offend a reasonable person in PLAINTIFFS’

Situation.

87. As a direct, legal, and proximate result of the acts of ASSAILANT, PLAINTIFFS

6
7
8 }| sustained serious and permanent injuries to their person, in an amount to be shown according to
9 || proof and within the jurisdiction of the Court.

0 88. Asaresult of the above-described conduct, PLAINTIFFS’ were put at unnecessary
1? |] risk of harm and in many cases suffered and continue to suffer great pain of mind and body, shock,
12 |] emotional distress, physical manifestations of emotional distress including depression, anxiety,
13 || humiliation, loss of enjoyment of life, and fear of flying and travel; have suffered and continue to
14 | suffer and were prevented and will continue to be prevented from performing daily activities and
15 |] obtaining the full enjoyment of life; may sustain loss of earnings and earning capacity; and may
16 || incur expenses for medical and psychological treatment, therapy, and counseling. PLAINTIFFS

17 || have suffered damages, both general and special damages, in an amount presently unknown but

18 || exceeding the minimum jurisdictional limit of this Court and as proven at the time of trial.

19 FIFTH CAUSE OF ACTION

20 INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

21 (Plaintiffs Against All Defendants)

22 89. PLAINTIFFS re-allege and incorporate by reference herein each and every

23 || allegation contained herein above as though fully set forth and brought in this cause of action.

24 90.  -The conduct of DEFENDANTS toward PLAINTIFFS, as described herein, was
25 j| outrageous and extreme.

26 91, A reasonable person would not expect or. tolerate the sexual harassment,
27 {| molestation, and abuse suffered by PLAINTIFFS at the hands of ASSAILANT, or UNITED,

28 |} FLIGHT ATTENDANTS, and ROES 4 through 50’s, knowledge and callous indifference thereof.

16
FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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1 |} PLAINTIFFS had great trust, faith, and confidence in in UNITED, FLIGHT ATTENDANTS, and
2 || ROES 4 through 50, which, by virtue of ASSAILANT’s and UNITED, FLIGHT ATTENDANTS,
3 || and ROES 4 through 50’s, wrongful conduct, turned to fear.

4 92. A reasonable person would not expect or tolerate UNITED, FLIGHT
5 || ATTENDANTS, and ROES 4 through 50’s, lack of and/or failure to enforce adequate policies and
6 || procedures for the proper response to ASSAILANT?’S sexual assault and harassment.

7 93. UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50, were in a position
8 || of care and control over PLAINTIFFS. UNITED, FLIGHT ATTENDANTS, and ROES 4 through
9 || 50’s, lack of and/or failure to enforce adequate policies and procedures for the proper response to
0 || in-flight sexual assaults, specifically the sexual assaults at issue in this Complaint, exacerbated and
1] |] amplified the trauma of the actual assault.

12 94. A reasonable person would not expect or tolerate UNITED, FLIGHT
13 || ATTENDANTS, and ROES 4 through 50, to be incapable of supervising and/or stopping
14 || passengers, such as ASSAILANT, from committing acts of sexual assault on other passengers with
15 || actual notice of such wrongful acts. PLAINTIFFS provided UNITED, FLIGHT ATTENDANTS,
16 || and ROES 4 through 50, with actual notice and complaint of ASSAILANT’s wrongful conduct
17 |] multiple times during the FLIGHT. UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50,
18 || ignored those complaints, sat idly, and allowed ASSAILANT to continue her wrongful conduct.
t9 || A reasonable person would not expect UNITED, FLIGHT ATTENDANTS, and ROES 4 through
20 || 50, whose presence was supposed to ensure PLAINTIFFS’ comfort and safety during the FLIGHT,
21 || to sit idly by and not take action to prevent ASSAILANT’s wrongful conduct.

22 95. | UNITED acted with intent or recklessness, knowing that PLAINTFFS were likely
23 || to endure emotional distress given their relative lack of power or control over their situation or
24 {| ability to report a crime while passengers on the FLIGHT, and given UNITED’s, including
25 {| FLIGHT ATTENDANTS, failure to report or adequately respond to PLAINTIFFS’ suffering a
26 |] sexual assault while in-flight.

27 96. As aresult of DEFENDANTS’ conduct, PLAINTIFFS sustained severe emotional

28 || distress, physical manifestations of emotional distress, emotional anguish, fear, anxiety,

17
FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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1 || humiliation, depression, and other physical and emotional injuries, and damages (both economic

2 || and noneconomic), in the past, present, and future, for which this claim is made. The injuries
3 |} suffered by PLAINTIFFS are substantial, continuing, and permanent.

4 97. DEFENDANTS’ conduct caused suffering for PLAINTIFFS at levels that no
5 || reasonable person should have to endure.

6 98. Asaresult of the above-described conduct, PLAINTIFFS’ were put at unnecessary

7 || risk of harm and in many cases suffered and continue to suffer great pain of mind and body, shock,
8 || emotional distress, physical manifestations of emotional distress including depression, anxiety,
9 || humiliation, loss of enjoyment of life, and fear of flying and travel; have suffered and continue to
10 || suffer and were prevented and will continue to be prevented from performing daily activities and
Lf }} obtaining the full enjoyment of life; may sustain loss of earnings and earning capacity; and may
12 || incur expenses for medical and psychological treatment, therapy, and counseling. PLAINTIFFS
13 |} have suffered damages, both general and special damages, in an amount presently unknown but
14 || exceeding the minimum jurisdictional limit of this Court and as proven at the time of trial.
15 99. In subjecting PLAINTIFFS to the wrongful acts herein described, DEFNEDANTS
16 || acted willfully and maliciously with the intent to harm PLAINTIFFS, and in conscious disregard
17 |} of PLAINTIFFS’ rights, so as to constitute malice and oppression under Civil Code section 3294.
18 || PLAINTIFFS are therefore entitled to the recovery of punitive damages against DEFENDANTS,
19 || in an amount to be determined according to proof.
20 SIXTH CAUSE OF ACTION
21 NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
22 || (Plaintiffs Against Defendants UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50)
23 100. PLAINTIFFS re-allege and incorporate by reference herein each and every
24 || allegation contained herein above as though fully set forth and brought in this cause of action.
25 101. UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50’s, conduct 4
26 || negligently caused emotional distress to PLAINTIFFS.
27 102. UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50, knew or reasonably

28 || should have known that PLAINTIFFS who experienced in-flight sexual assault and were treated

18
FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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1 |] poorly or inadequately in the aftermath would experience emotional distress.
103. UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50, could reasonably

foresee that its actions and omissions would have caused emotion distress to PLAINTIFFS.

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104. UNITED, and its employees, are a common Carrier. Common carriers must carry
passengers safely. Common carriers must use the highest care and the vigilance of a very cautious
person. They must do all that human care, vigilance, and foresight reasonably can do under the
circumstances to avoid harm to passengers. A common carrier must use reasonable skill to provide
everything necessary for safe transportation, in view of the transportation used and the practical

operation of the business. PLAINTIFFS as passengers on the FLIGHT are unable to escape from

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their ASSAILANT or report a crime to authorities on their own. PLAINTIFFS reported
11 |} ASSAILANT’s wrongful conduct to FLIGHT ATTENDANTS. Unfortunately, UNITED’s,
12 || including its FLIGHT ATTENDANTS, lack of and/or failure to enforce adequate policies and
13 || procedures for the proper response to in-flight sexual assaults, specifically the sexual assaults at
14 |] issue in this Complaint, exacerbated and amplified the trauma of the actual assault.

15 105. UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50’s, negligence was a
16 |} substantial factor in causing PLAINTIFFS’ serious emotional distress.

17 106. Asa result of UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50’s,
18 || conduct, PLAINTIFFS sustained severe emotional distress, physical manifestations of emotional
19 || distress, emotional anguish, fear, anxiety, humiliation, depression, and other physica] and
20 || emotional injuries, and damages (both economic and noneconomic), in the past, present, and
21 || future, for which this claim is made. The injuries suffered by PLAINTIFFS are substantial,
22 || continuing, and permanent.

23 107. UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50’s, conduct caused
24 || suffering for PLAINTIFFS at levels that no reasonable person should have to endure,

25 108. Asaresult of the above-described conduct, PLAINTIFFS’ were put at unnecessary
26 || risk of harm and in many cases suffered and continue to suffer great pain of mind and body, shock,
27 || emotional distress, physical manifestations of emotional distress including depression, anxiety,

28 {| humiliation, loss of enjoyment of life, and fear of flying and travel; have suffered and continue to

19
FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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1 |} suffer and were prevented and will continue to be prevented from performing daily activities and
2 || obtaining the full enjoyment of life; may sustain loss of earnings and earning capacity; and may
3 || incur expenses for medical and psychological treatment, therapy, and counseling. PLAINTIFFS
4 || have suffered damages, both general and special damages, in an amount presently unknown but
exceeding the minimum jurisdictional limit of this Court and as proven at the time of trial.

SEVENTH CAUSE OF ACTION

5

6

7 NEGLIGENCE
8 || (Plaintiffs Against Defendants UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50)
9 109. PLAINTIFFS re-allege and incorporate by reference herein each and every
0 |} allegation contained herein above as though fully set forth and brought in this cause of action.

11 110. UNITED, as a common carrier, has a special duty to provide due care to ensure and
12 || protect and aid in the protection of its passengers’ safety. This duty includes one to take reasonable
13 |} steps in order to prevent and deter in-flight sexual assault on its flights, and to properly respond to
14 |} such assaults that do occur, particularly in light of UNITED’s knowledge of the growing
15 || prevalence of in-flight sexual assault.

16 111. UNITED, including its employees and FLIGHT ATTENDANTS, had special
17 || duties to protect PLAINTIFFS, when such individuals were passengers entrusted to UNITED’s
18 || care. PLAINTIFFS’ safety and well-being were entrusted to UNITED, including its employees
19 |} and FLIGHT ATTENDANTS, during the FLIGHTS. UNITED, including its employees and
20 || FLIGHT ATTENDANTS, voluntarily accepted the entrusted care of PLAINTIFFS. As such,
21 |} UNITED, including its employees and FLIGHT ATTENDANTS, owed PLAINTIFFS a special
22 || duty of care that common carriers dealing with passengers owe to protect them from harm, and to
23 |} aid them in preventing and responding to harm. The duty to protect and warn arose from the
24 || common carrier doctrine that applies to airline carriers (including its employees and personne)).
25 112. Upon information and belief, UNITED, including its employees and FLIGHT
26 || ATTENDANTS, knew or should have known of the prevalence of in-flight passenger-on-

27 || passenger sexual assault and of the likelihood of risk and harm to its passengers absent

28 || implementation and enforcement of appropriate policies.

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FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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I 113. UNITED, including its employees and FLIGHT ATTENDANTS, breached its duty
2 || of care to PLAINTIFFS by failing to implement and enforce uniform policies and procedures for
3 || the prevention, deterrence, and response to in-flight sexual assaults on its flights; by failing to
4 || report in-flight sexual assaults to the proper authorities, or to any authorities; and by failing to
5 || cooperate with authorities in the reporting and investigation process into in-flight sexual assaults.
6 114. UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50’s, negligence was a
7 || substantial factor in causing PLAINTIFFS’ harm.
8 115. Asa result of UNITED, FLIGHT ATTENDANTS, and ROES 4 through 50’s,
9 || conduct, PLAINTIFFS sustained severe emotional distress, physical manifestations of emotional
10 || distress, emotional anguish, fear, anxiety, humiliation, depression, and other physical and
11 || emotional injuries, and damages (both economic and noneconomic), in the past, present, and
12 || future, for which this claim is made. The injuries suffered by PLAINTIFFS are substantial,
13 || continuing, and permanent.
14 116. Asaresult of the above-described conduct, PLAINTIFFS were put at unnecessary
15 || risk of harm and in many cases suffered and continue to suffer great pain of mind and body, shock,
16 || emotional distress, physical manifestations of emotional distress including depression, anxiety,
17 || humiliation, loss of enjoyment of life, and fear of flying and travel; have suffered and continue to
18 || suffer and were prevented and will continue to be prevented from performing daily activities and
19 |] obtaining the full enjoyment of life; may sustain loss of earnings and earning capacity; and may
20 || incur expenses for medical and psychological treatment, therapy, and counseling. PLAINTIFFS
21 || have suffered damages, both general and special damages, in an amount presently unknown but
22 || exceeding the minimum jurisdictional limit of this Court and as proven at the time of trial.
23 EIGHTH CAUSE OF ACTION
24 NEGLIGENT HIRING, TRAINING, SUPERVISION, AND RETENTION
25 (Plaintiffs Against Defendants UNITED and ROES 4 through 50)
26 117. PLAINTIFFS re-allege and incorporate by reference herein each and every
27 || allegation contained herein above as though fully set forth and brought in this cause of action.
28 118. FLIGHT ATTENDANTS were hired, employed, trained, and/or supervised by
2)
FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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1 |] UNITED.
2 119. FLIGHT ATTENDANTS were unfit and/or incompetent to perform the work for

3 || which they were hired to perform. Specifically, by failing to implement and enforce uniform

4 || policies and procedures for the prevention, deterrence, and response to in-flight sexual assaults on
5 || its flights; by failing to report in-flight sexual assaults to the proper authorities, or to any
6 }} authorities; and by failing to cooperate with such authorities in the reporting and investigation
7 || process into in-flight sexual assaults.

8 120. UNITED knew or should have known that FLIGHT ATTENDANTS were unfit

9 || and/or incompetent and that this unfitness and/or incompetence created a particular risk to
10 |] PLAINTIFFS and others.
1] 121. FLIGHT ATTENDANTS’ unfitness and/or incompetence harmed PLAINTIFFS.
12 122. UNITED’s negligence in hiring, training, supervision, and/or retention was a
13 |] substantial factor in causing PLAINTIFFS’ harm.
14 123. As a result of UNITED’s negligence in hiring, training, supervision, and/or
15 || retention of FLIGHT ATTENDANTS, PLAINTIFFS sustained severe emotional distress, physical
16 || manifestations of emotional distress, emotional anguish, fear, anxiety, humiliation, depression, and
17 || other physical and emotional injuries, and damages (both economic and noneconomic), in the past,
18 || present, and future, for which this claim is made. The injuries suffered by PLAINTIFFS are
19 |] substantial, continuing, and permanent.
20 124. Asa result of the above-described conduct, PLAINTIFFS were put at unnecessary
21 || risk of harm and in many cases suffered and continue to suffer great pain of mind and body, shock,
22 || emotional distress, physical manifestations of emotional distress including depression, anxiety,
23 || humiliation, loss of enjoyment of life, and fear of flying and travel; have suffered and continue to
24 || suffer and were prevented and will continue to be prevented from performing daily activities and
25 || obtaining the full enjoyment of life; may sustain loss of earnings and earning capacity; and may
26 || incur expenses for medica! and psychological treatment, therapy, and counseling. PLAINTIFFS
27 || have suffered damages, both general and special damages, in an amount presently unknown but

28 || exceeding the minimum jurisdictional limit of this Court and as proven at the time of trial.

22
FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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I PRAYER FOR RELIEF
2 WHEREFORE, PLAINTIFFS pray for damages and other judicial relief as follows:
3 1. For past, present, and future non-economic damages in an amount to be determined
4 at trial;
5 n For past, present, and future special damages, including but not timited to past,
6 present, and future lost earnings, economic damages and others, in an amount to be
7 determined at trial;
8 3 Any appropriate statutory damages;
9 4, For costs and expenses of suit;
10 5. For interest based on damages, as well as pre-judgment and post-judgment interest
11 as allowed by law;
12 6. For attorney’s fees pursuant to California Code of Civil Procedure section 52, et
13 seq. or as otherwise allowable by law;
14 7 For treble damages of the amount of actual damage but in no case less than four
15 thousand dollars ($4,000) pursuant to California Code of Civil Procedure section
16 52, et seq. or as otherwise allowable by law;
17 8. For exemplary and punitive damages;
18 9, For declaratory and injunctive relief, including but not limited to court supervision
19 of UNITED, including its FLIGHT ATTENDANTS and employees; and
20 || “/
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22 |}
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24 t] MW
25 })
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27 || Mf
28 || dif
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FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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| 10. For such other and further relief as the Court may deem proper.

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3 || Dated: May 20, 2020 THE DARWISH LAW FIRM, APC

4 . :

5 By: PPR

6

Darren D. Darwish, Esq.

7 . Attorneys for Plaintiffs

3 JOHN DOE | and JOHN DOE 2

9
10 || Dated: May 20, 2020 AZIZIAN LAW, P.C.
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12 - —

13 By:

° ~ BenfamigA. Azjzjansq.
14 Attorneys for Plaintiffs
JOHN DOE 1 and JOHN DOE 2

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FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
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a

l DEMAND FOR JURY TRIAL

2 PLAINTIFFS hereby demand a jury trial.

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4 || Dated: May 20, 2020 THE DARWISH LAW FIRM, APC

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7

Darren D. Darwish, Esq.
8 Attorneys for Plaintiffs
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JOHN DOE | and JOHN DOE 2
Dated: May 20, 2020 AZIZIAN LAW, P.C.
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13 By: ee

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14 Attorneys'‘for Plai XEN
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FIRST AMENDED COMPLAINT FOR DAMAGES; DEMAND FOR JURY TRIAL

 

 

 
